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 1                                                                     The Honorable Richard A. Jones
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 4
                                    UNITED STATES DISTRICT COURT
 5                                 WESTERN DISTICT OF WASHINGTON
 6                                           AT SEATTLE

 7    WILD FISH CONSERVANCY,

 8                            Plaintiff,
                                                     Case No. 2:20-cv-00417-RAJ-MLP
 9    vs.
                                                     ORDER GRANTING THE ALASKA
10
      SCOTT RUMSEY, et al.,                          CONGRESSIONAL DELEGATION
11                                                   LEAVE TO FILE AMICI CURIAE BRIEF
                              Defendants,
12
      and
13
      ALASKA TROLLERS ASSOCIATION
14
      and STATE OF ALASKA,
15
                          Intervenor-Defendants.
16

17          The Alaska Congressional Delegation’s unopposed motion for leave to file (Dkt. # 159)
18   is GRANTED. The Alaska Congressional Delegation is directed to file its Amici Curiae Brief in
19
     Support of Defendants and Intervenor-Defendants in the form attached to its motion. Any
20
     response brief in opposition to the Amici Curiae brief shall be filed within seven days of the
21
     filing date of the Amici Curiae brief, and shall be limited to the length of, and arguments raised
22

23   in, the Amici Curiae brief.

24          DATED this 13th day of March, 2023.

25                                                        A
                                                          The Honorable Richard A. Jones
                                                          United States District Judge



      ORDER
      No. 2:20-cv-00417-RAJ-MLP - 1
